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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00387-NRN

DARLENE GRIFFITH

        Plaintiff,
v.

EL PASO COUNTY, COLORADO,
WELLPATH, LLC,
CHRISTINE MOHR, in her individual capacity,
DOCTOR JANE ROE, in her individual capacity,
SHERIFF BILL ELDER, in his individual and official capacities,
COMMANDER CY GILLESPIE, in his individual capacity,
DEPUTY JOHN DOE, in his individual capacity,
DEPUTY JANE DOE, in her individual capacity,
DEPUTY F/N/U DRAPER, in his individual capacity,

        Defendants.



       MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT
            WELLPATH, LLC PURSUANT TO D.C.COLO.LAttyR 5(b)



        Catherine O’Brien Crum, Esq. and Lauren Kuhn, Esq., of NIXON SHEFRIN OGBURN

DREW, P.C., respectfully submit this Motion for Leave to Withdraw as Counsel for Defendant

Wellpath, LLC Pursuant to D.C.Colo.LAttyR. 5(b), and in support thereof, states as follows.

                                   REQUEST FOR RELIEF

     1. Undersigned counsel seeks to withdraw as counsel for Defendant Wellpath, LLC in this

action, as contemplated and agreed upon by counsel and the party.

     2. Accordingly, undersigned counsel respectfully requests that this Court permit them to

withdraw on the basis that good cause is shown as follows:
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       a. Defendant Wellpath, LLC, has been notified that it may not appear without counsel

           admitted to the bar of this court, and that absent prompt appearance of substitute

           counsel, pleadings and papers may be stricken, and default judgment or other

           sanctions may be imposed against it.

       b. Defendant Wellpath, LLC, will continue to be represented by Daniel P. Struck,

           Ashlee B. Hesman, and Kristina R. Rood of the law firm STRUCK LOVE BOJANOWSKI

           & ACEDO, PLC. Counsel entered their appearance in this case on October 29, 2021.

           [ECF Nos. 61-63].

   3. Undersigned counsel requests that all Notices of Electronic Filing issued in this matter be

terminated with respect to counsel. Undersigned counsel acknowledges that Defendant

Wellpath, LLC, through its counsel of record, will continue to receive from the court or from the

opposing counsel or parties’ notice of all documents filed in this case.

   4. Undersigned counsel certifies that they will serve a copy of this motion to withdraw on

all counsel of record and parties, and acknowledges its withdrawal will be effective immediately

on the court’s order.

       WHEREFORE, undersigned counsel respectfully requests that the Court grant this

motion for leave to withdraw as counsel for Defendant Wellpath, LLC pursuant to

D.C.COLO.LAttyR 5(b).

       Respectfully submitted this 29th day of October 2021,


                                              _ s/ Catherine O’Brien Crum ______________
                                              Catherine O’Brien Crum, Esq.
                                              Lauren Kuhn, Esq.
                                              Nixon Shefrin Ogburn Drew, P.C.
                                              5619 DTC Parkway, Suite 1200
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                                              Attorneys for Defendant Wellpath, LLC


                                CERTIFICATE OF SERVICE

Civil Action No. 21-cv-00387-NRN

       I hereby certify that on this 29th day of October 2021, I electronically served a true and
complete copy of the foregoing with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the e-mail addresses for the following:

 Mari Anne Newman, Esq.                              Daniel P. Struck, Esq.
 Andrew Joseph McNulty, Esq.                         Ashlee B. Hesman, Esq.
 Killmer Lane & Newman LLP                           Kristina Rood, Esq.
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                                                     Attorneys for Wellpath, LLC
 Christopher Michael Strider, Esq.
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